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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


  KRISTEN MORALES,                        * CIVIL ACTION NO.:
                  Plaintiff,              *
           v.                             * JUDGE:
                                          *
 CITY OF NEW ORLEANS, OFFICE OF OIG * MAGISTRATE JUDGE:
 THROUGH       ED    MICHEL,     INTERIM *
 INSPECTOR GENERAL, AND BOBBIE *
 JONES.                                   *
                     Defendants.          * JURY DEMANDED
                                          *
 ****************************************   ********************************



                                         COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes Plaintiff, KRISTEN

MORALES (“Morales”), who hereby files this Complaint and respectfully avers, as follows:

                                       INTRODUCTION

       1.      Plaintiff brings this action for declaratory judgment, equitable relief, and monetary

damages to secure the protection against and to redress unlawful discrimination on the basis of

retaliation under Title VII of the Civil Rights Act of 1964, 42 U.S.C. section 2000e et. seq., as

amended (“Title VII”), Louisiana Whistleblower Act codified as LSA-R.S. §23:967, and on the

basis of gender and race/ethnicity under the Civil Rights Act of 1866, 42 U.S.C. §1981, as amended

by the Civil Rights Act of 1991 (“Section 1981”); Title VII of the Civil Rights Act of 1964, 42

U.S.C. section 2000e et. seq., as amended (“Title VII”), 42 U.S.C §1983, §1985; Louisiana laws

prohibiting intentional discrimination including the Louisiana Employment Discrimination Law

codified as LSA-R.S. 23:332, et seq., and La. Civil Code 2315 for defamation and

cyberstalking/hacking.
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                                 JURISDICTION AND VENUE

       2.      This Court has original jurisdiction of the Plaintiff’s Section 1981 claims pursuant

to 28 U.S.C. §§1331 and 1343. The Court has original jurisdiction of the plaintiff’s Title VII claims

pursuant to 28 U.S.C. § 1331, 1343, 2202, and 42 U.S.C. §2000e-5.

       3.      Supplemental jurisdiction over Complainant’s state law claims is invoked under

both Rule 18 of the Federal Rules of Civil Procedure and 28 U.S.C. § 1367, because they are part

of the same case or controversy as Complainant’s federal claims.

       4.      This Court has personal jurisdiction over the Defendants- as each defendant is

either domiciled in the Eastern District of Louisiana and the acts and omissions of all defendants

occurred in the Eastern District of Louisiana.

       5.      Venue is proper under 28 U.S.C. § 1391(b)(2) because the events giving rise to the

claims asserted occurred in the Eastern District.

       6.      Venue is also proper in the Eastern District of Louisiana pursuant to 28 U.S.C. §

1391 and 42 U.S.C.A. §2000e-5(g).

                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       7.      Complainant has satisfied all administrative prerequisites for filing suit under Title

VII and the Louisiana Employment Discrimination Law, R.S. 23:302 et. seq.

       8.      On or about November 23, 2020, Morales filed a Charge of Discrimination with

the Equal Employment Opportunity Commission (“EEOC”). On May 10, 2021, Morales filed an

Amended Charge of Discrimination with the EEOC.

       9.      On July 30, 2021, the U.S. Department of Justice Civil Rights Division issued a

Notice of Right to Sue.

         10.   This Complaint is being filed within 90 days of Complainant’s receipt of the Notice




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         of Right to Sue.

                                          THE PARTIES

      11.      Plaintiff, Kristen Morales (“Morales”), is a person of the full age of majority,

domiciled in the Parish of Jefferson, State of Louisiana. Morales was employed as a Criminal

Investigator for The New Orleans Office of Inspector General from April 18, 2011, until her

termination on January 7, 2021. She was a permanent civil servant at the time of her termination

and held the title of Criminal Investigator IV.

       12.     Defendant City of New Orleans (“CNO” or “Orleans Parish”) is a government body

created pursuant to the laws of the State of Louisiana and is located within the Eastern District of

Louisiana. At all relevant times, CNO is and was the Complainant’s employer through the Office

of Inspector General and had at least 20 employees.

       13.     Defendant Ed Michel is the Interim Inspector of the Office of Inspector General for

Orleans Parish. Suit is brought against him in his official and individual capacities.

       14.     Defendant, Bobbie Jones is the I.T. Specialist at the Office of Inspector General.

Suit is brought against her in her personal capacity

       15.     Each of the acts and omissions complained of in this Complaint were committed

by the defendant and its agents while in the course and scope of their employment with CNO.

       16.     In doing the acts and/or omissions alleged, Defendants CNO and Michel acted

under color of authority and/or color of state law.

                                  FACTUAL ALLEGATIONS

       17.     Plaintiff, Morales, was hired to work as a Criminal Investigator I, for the New

Orleans Office of Inspector General, on or about April 18, 2011. Morales was a permanently

classified civil servant at the time of her termination and held the position of Criminal




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Investigator IV.

       18.       As a Criminal Investigator Morales was tasked with investigating cases,

including, but not limited to evaluating complaints, developing investigative plans, and handling

cases according to Investigative Manual (IM) procedures.

       19.       As a Criminal Investigator, Morales was responsible for conducting interviews of

subjects of investigations, conducting field investigations, interviewing witnesses, performing

covert surveillance, and reporting results. The Investigator develops compiles, reviews, handles,

and transports documents and evidence relative to investigations. The Investigator charts and

reports case progress, issues status reports and closing reports, drafts subpoena and summons

requests and closing memos when so assigned. The Investigator must also give testimony before

administrative hearings and in the courtroom when required.

       20.       Morales was wrongfully terminated on January 7, 2021, in retaliation for filing

an EEO charge of discrimination, opposing discriminatory and unethical practices, and

reporting violations of state and federal law, in violation of Title VII and the LEDL.

       21.       Morales was also wrongfully suspended effective December 14, 2020, for 30

days without pay prior to her termination. She was subjected to a hostile work environment

and intentionally harassed and targeted in a concerted effort to wrongfully discipline and

terminate her.

       22.       After lodging internal complaints, Morales was retaliated against through a

series of attempts to discredit her and harm her professional reputation and force her out of

her job.

       23.       Morales made an internal complaint to management in January of 2019

Morales that she was treated differently than her male colleagues in the Criminal




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Investigations Unit. One of the allegations was concerning a pay increase for extraordinary

pay for a certification she received in 2016.

       24.     Eleven months after lodging her complaint Morales received approval from

Assistant Inspector General (AIG.) of Criminal Investigations, Ed Michel and Inspector

General (I.G.) Harper to receive a 5% pay increase for obtaining a certification related to her

field. Morales followed up on the request to process the required paperwork from December

of 2019 through January of 2020 with no resolution.

       25.     In January 2019 Morales also complained to her supervisor William Bonney,

Deputy Inspector General for Criminal Investigations. She expressed that it was unfair that

she was held to a different standard than her male co-workers because she was the only Criminal

Investigator required to maintain minimum certifications, while her three male co-workers were

not held to the same standard. In response to her complaint, Bonney threatened Morales “not to

go down that road”. He also instructed her that she needed to explain to the team what she was

doing, why, and how her training could be of value to their investigations. Morales was told to do

this to ease her male colleague’s tension. After Morales protested, Bonney advised her that they

have an "old fashioned" way of thinking. His resolution was for Morales to placate them instead

of addressing the discrimination and unequal treatment.

       26.     Morales did not heed Bonney’s threat and on or around January 15, 2019, she filed

an internal complaint to the (former) Inspector General, Derry Harper of discrimination and that

she was treated less favorably than her male colleagues.

       27.     An investigation was undergone, however, the issues Morales raised in her

internal complaint concerning unequal pay and disparate treatment with regard to her male

criminal investigator colleagues were not investigated nor resolved.




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       28.     On or around December 5, 2019, Morales learned from a New Orleans FBI Agent

that the Agent met with a City of New Orleans (CNO) employee without Morales’s knowledge or

involvement. At this time the federal agency did not have an open case into the matter that Morales

was assigned as the lead investigator. Morales had previously contacted the same CNO employee

several weeks prior. Morales refrained from interviewing the employee as a courtesy to the federal

partners and based on a request from the AUSA’s office to coordinate efforts. The actions resulted

in Morales being prevented from interviewing this critical witness. In response, Morales voiced

her objections to the AUSA, and her chain of command, including the counsel for the OIG about

the agents’ conduct and potential legal repercussions to the active criminal investigation.

       29.      On January 23, 2020, Morales filed an internal grievance, after being encouraged

by Interim Inspector General Ed Michel, who at the time served as the Assistant Inspector General

in response to personal attacks by Deputy Inspector Erica Smith and previous unresolved matters.

On January 22, 2020, a meeting was held with Assistant Inspector General (AIG) Larry Douglas,

Former General Counsel, Patrice Sullivan, then AIG Ed Michel, Deputy Erica Smith and

Morales. The meeting was held because it was discovered that Smith conducted interviews of

personnel within the same City Department where Morales was conducting confidential

interviews with their federal counterparts for a criminal investigation. This action was against

policy and a previously determined agreement designed to protect the confidentiality and

integrity of the criminal investigation.

       30.     Just a few days after filing her grievance, on January 28, 2020, then Assistant

Inspector General for the Criminal Investigations Division, Ed Michel advised Morales that

unidentified federal partners from the FBI requested that Morales be removed from a federal case

she was assigned. Morales asked what the allegation was, but Michel refused to provide her with




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any information.

       31.     On or about March 2, 2020, after continued requests for further information,

Michel advised Morales that she had been accused of associating with known felons. Michel

advised that a photograph taken of her while traveling to the Heisman Trophy ceremony in 2019,

which Morales texted to Michel at the time of the trip, showed that the pilot who flew the plane

had a federal record. Michel also advised that the Morales was further accused of identifying

herself as an FBI agent during an interview, talked to FBI sources, and tried to reach out to FBI

sources through social media. Morales objected to the claims and advised Michel that the claims

were false, defamatory, and baseless. Morales requested that Michel address the matter with I.G.

Harper. In response, I.G. Harper advised that Morales would not be removed from her assigned

cases and that the allegations were baseless.

       32.     On or around March 05, 2020, Morales discovered that the report of the interview

conducted in January 2020 with the agents whom she complained about previously, excluded

pertinent information, including, the interviewee’s name, documents provided during the

interview and statements. Morales immediately brought this to management’s attention. She

advised that at a minimum, it was unethical but believed the action of excluding evidence

presented during the interview was illegal.

       33.     Morales requested that Michel inform then I.G. Harper and General Counsel to

address the issue and Morales’ concerns with the actions of their federal partners. Morales

followed up with Michel in February and March of 2020, to no avail.

       34.     On or around March 11, 2020, while conducting an interview with federal

partners, one of the agents forcefully placed his arm across Morales’s breast and chest. While the

Agent touched Morales’s chest, he instructed her to stop taking notes. Morales moved the Agent’s




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arm off her chest, but he repeated the behavior for a second time to which Morales told him to

stop. Morales immediately texted her supervisor, Centola, and reported the incident. In response

AIG, Michel told Morales that he would contact the Agent’s supervisors about the incident.

       35.     On May 15, 2020, Morales was advised that Civil Service rejected her request for

a 5% pay increase. That same day, however, Morales was informed by the Human Resource (HR)

Manager that her colleagues Michael Centola and Terence Barrett had also applied for the

incentive pay, listing the same certification and were approved. After speaking with Michel, he

advised Morales to list a different certification and reapply. Morales objected that the denial was

disparate treatment but followed Michel’s instruction and reapplied under a different

certification. The issue was never resolved prior to Morales’s termination.

       36.     In July of 2020, Morales contracted COVID and was out for an extended period.

While recovering from her illness, Morales quarantined with her boyfriend at his residence in

Kenner, Louisiana. Morales advised the I.G. and General Counsel and Chief Centola, of her

illness and need to quarantine outside of her residence. Morales was never advised that she was

in violation of any policies for staying in Kenner to quarantine and recover, per doctor orders.

       37.     On or around August 6, 2020, Morales learned from an Assistant United States

Attorney (AUSA) that she had been removed from a federal case, by her Supervisor, Ed Michel.

Morales was the lead investigator on this case for several years. Morales believes that AIG Michel

removed Morales from the case in retaliation for reporting unethical and illegal activity by the

federal agent she made a complaint about. Morales reported the matter to I.G. Harper who advised

her that he did not authorize her removal from the case. Morales also expressed concern that she

would be further retaliated against, and that Michel would try to terminate her for speaking out

about the unethical and illegal conduct she reported.




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         38.   On August 14, 2020, Morales emailed Chief Centola requesting confirmation of

her federal case assignments after she was told that she was removed from the same federal case

for which she was the lead investigator. Morales received confirmation from I.G. Harper that she

was still on the federal case. Morales needed to know the status of her involvement in due to

upcoming time sensitive interviews.

         39.   Morales followed up with I.G. Harper on September 9, 2020, advising that she

needed to attend an interview for another high-profile investigation the following week but the

AUSA, Michel, and Centola were telling her that they were waiting on I.G. Harper for permission

for Morales to continue working on the cases. A few hours later I.G. Harper emailed Michel

advising that Morales remained assigned to the cases for any and all investigative activities,

however, Morales was prevented from attending the interview by Chief Centola, who went in her

place.

         40.   Just two days later, on September 11, 2020, Morales was emailed a Letter of

Reprimand (L.O.R.) by I.G. Counsel Patrice Sullivan, dated September 9, 2020. The L.O.R.

alleged that Morales failed to record any investigative hours in the case management system,

Wingswept, without being reminded, from December 29, 2019, through July 4, 2020.

         41.   Following issuance of the L.O.R. Michel emailed I.G. Harper furious that Morales

was not terminated or suspended over the Wingswept issue.

         42.   Morales immediately appealed the L.O.R. through Civil Service, fearing that

Michel was trying to set her up for termination. The retaliation, targeting, and harassment

intensified after Morales filed her Civil Service Appeal.

         43.   On September 11, 2020, Morales also emailed I.G. Harper and counsel advising

that she received a call from the AUSA to set up an interview the following week for one of the




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federal cases that Michel had previously removed her from working. Morales advised the AUSA

of I.G. Harper’s email regarding case status and her continued assignment. Morales requested

assistance because her supervisor, Chief Centola advised Morales that the federal agency had not

contacted him about her continued work assignment. In response to Morales’s email, Michel

chastised Morales.

       44.     On September 25, 2020, Morales emailed OIG Counsel Sullivan and I.G. Harper

requesting the evidence collected and results of the investigation into Morales’s complaints

related to the FBI’s false accusations concerning the Heisman event, and serious evidentiary

issues related to documents and information left out of a report for interview. Morales noted that

she previously expressed concern to DIG Bonney and Chief Centola about interactions with

specific agents. Morales brought the matter up to Michel, who advised that he would have coffee

with the agent’s supervisor to address the matters.

       45.     During the fall of 2020 Morales was interviewed by OIG counsel in response to

an allegation that Morales recorded an interview where FBI Agents were present, and Morales

may be recording internal conversations. Chief Centola later informed Morales that he made the

allegation, even though he did not have any proof to support the claim.

       46.     Morales advised OIG Counsel and I.G. Harper that AIG Michel retaliated against

her by removing her from a case that she worked for six years. AIG Michel did not inform

Morales or her supervisor, Chief Centola, of his decision to remove Morales from the case,

provided no explanation, and only informed Agents of the New Orleans FBI Office. Since that

time, the Agents continued to make false accusations against Morales, affecting her ability to

work assigned cases. Morales advised that she feared that additional retaliation/suspension/

termination was imminent. Morales stated that IG Management was attempting to silence her




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and/or would take additional retaliatory actions against her for reporting these matters.

       47.     On multiple occasions Morales voiced her objections and concerns to her chain of

command at the OIG. She advised that she felt that the cases she was assigned were being

intentionally delayed by her supervisor’s inaction.

       48.     During the fall of 2020 Morales requested copies of her personnel file on multiple

occasions. Her requests were unanswered, prompting her to file a Public Records Request. The

request was also ignored, in violation of Louisiana Public Record law. Morales continued to

request the information and advised her employer of the state law violation related to her public

records request, to no avail.

       49.     As part of her civil service appeal to the L.O.R. Morales submitted a subpoena

request asking for her personnel file. Morales was advised by OIG counsel that the response to

her subpoena, including her personnel file was ready to be disseminated to her. However, Morales

did not receive the documents, and on October 29, 2020, was informed that OIG counsel was not

permitted to respond to the request and that Morales needed to follow up with Michel.

       50.     On October 31, 2020, I.G. Harper and General Counsel Sullivan resigned from

their positions. In early November, Ed Michel was appointed as Interim Inspector General by the

Chair of the Ethics Review Board, Michael Cowan.

       51.     Morales continued to follow up concerning the status of her requests for her

personnel file through Jessica Lang, the OIG Human Resources Manager. Prior to I.G. Harper’s

departure, he instructed Lang to provide Morales with the documents that were prepared to

respond to her subpoena prior to his last day. After I.G. Harper’s departure, however, Michel

instructed Lang that she was not permitted to provide the responses to Morales that were ready

for dissemination.




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       52.    At the same time, Morales contacted the New Orleans Chief Administrative Office

(CAO) seeking relief from harm and advised that she feared she was being set up for termination.

Morales’s requests for assistance were left unanswered.

       53.    After Michel’s appointment to the position of Interim I.G. the targeting,

harassment, and discriminatory conduct intensified to the point that Morales filed an EEOC

Charge of Discrimination on November 23, 2020.

       54.    On December 1, 2020, Morales was compelled to sit for an interrogation

conducted by Chief Centola and witnessed by co-workers Larry Douglas and Terrance

Barrett. It quickly became apparent that Morales was being investigated for multiple policy

violations. During the interrogation, Morales was questioned on the following subjects:

                a. If she recorded any phone calls or meetings with OIG members, and

                    about Veritas (Veritas is the software utilized by the OIG for email

                    archiving and data retention) activities from over a year or more ago.

                b. If she gave an iPhone to Reginald Fournier, a cook who worked in the

                    cafeteria of the building where the OIG is housed, approximately four or

                    five years ago.

                c. Centola characterized the questioning about her trip to the Heisman

                    Trophy Ceremony as a gift she received. Morales was invited to attend

                    the event with a close family friend, Patti Scurlock. Ms. Scurlock has no

                    relationship or contracts with the City of New Orleans but has been a

                    close family friend for years. Ms. Scurlock chartered a plane for the trip.

                d. Where she lived, if she was domiciled in Orleans parish, and if she slept

                    at her house at night or with her significant other who lives in Jefferson




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                     Parish. Morales questioned whether her male co-workers were asked

                     where they sleep at night but did not get a response.

       55.     Morales was instructed to gather evidence to support her responses to Chief

Centola’s questions but was not given any deadline for when she was required to provide

evidence to oppose the claims.

       56.     Less than two weeks later, on December 14, 2020, Michel instructed Morales

that she was being suspended without pay but refused to provide her the reason for her suspension

once she presented to the office.

       57.     Approximately a week later, Morales received a letter of emergency suspension.

The letter indicated that she was being suspended for 30 days without pay for the following

policy violations:

                 a. Violation of Policy Memorandum 60(R), Policy Memorandum 83(R),

                     and Louisiana Law by Giving Away an iPhone Owned by the OIG.

                 b. A Second Violation of Policy Memorandum No. 83(R) by Improperly

                     Invading Another Employee’s Personal Space (William A. Bonney).

                 c. A Violation of Policy Memorandum 83(R) and the Louisiana Code of

                     Government Ethics by Accepting a Valuable Gift for Personal Benefit

                     for accepting a free trip to the 2019 Heisman Trophy Ceremony and lack

                     of candor for not immediately recalling the personal friends last name

                     during the December 1 interrogation.

                 d. Violations of Policy Memorandum 19(R) and the City Domicile

                     Ordinance.

                 e. Violations of Policy Memorandum 83(R) by Repeatedly and




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                       Consistently Faling to Follow Supervisor’s Directives.

                f. Violations of Policy Memorandum 83(R) by Retaliating and

                       Threatening Retaliation Against Other Employees for Reporting Your

                       Perceived Misconduct and Policy Violations.

       58.    On December 22, 2020, Michel provided the EEOC with correspondence

misrepresenting Morales’s prior disciplinary history and facts related his actions to remove

her from the federal cases she was assigned. Moreover, Michel stated that Morales had been

previously counseled for each of the incidents listed in her Emergency Suspension letter of

December 15, 2020, implying that an investigation and Morales’s opportunity to refute the

allegations had already occurred. However, Morales’s opportunity to present evidence in

her defense was not until January 7, 2021, the date of her pre-termination hearing. Michel’s

letter supports Morales’s claim that her termination was pre-determined no matter what

evidence she would provide in her defense.

       59.    On January 7, 2021, Morales presented for her pre-termination hearing. In support

of her defense, she read a 15-page written statement refuting the allegations. Morales provided

the OIG with the written statement and a binder of exhibits in support of her response.

Notwithstanding Morales’s lack of access to OIG databases to gather documentation to support

her response, she was able to provide overwhelming evidence demonstrating that the allegations

were false.

       60.    During the pre-termination hearing Bonney attempted to question Morales

about additional allegations that were never listed in the suspension letter and to which she

had no prior notice.

       61.    Morales was terminated the same day, immediately following completion of her




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pre-termination hearing.

       62.     Five days later, on January 12, 2021, Morales received a copy of her termination

letter. The letter included the same language from the suspension letter of December 15, 2020,

with an additional sentence or two included at the end of each section advising that the

documentation she provided during the pre-termination was not sufficient. The letter included

absolutely no discussion of the evidence submitted or the basis of the finding by the OIG that

Morales violated the stated policies or engaged in the alleged conduct.

       63.     Of importance, Morales’s termination letter indicated that she was terminated for

violating CAO Policy Memorandum 83(R)II(s), the City’s anti-retaliation policy, as follows:

                 a. For filing an EEO complaint on January 9 and 15, 2019,

                 b. For filing a grievance on January 23, 2020, and supplementation to that

                     grievance on February 12, 2020,

                 c. For escalating her grievances to the CAO’s office or advising that she would

                     escalate her grievance,

                 d. For filing an additional EEO Complaint on December 9, 2020.

       64.     Morales filed an appeal to both the termination and suspension with Civil Service.

During the hearings for both the L.O.R., suspension, and termination, OIG witnesses testified

that the OIG failed to follow standard investigatory policy and protocol; it became evident that

OIG investigators created evidence in response to a subpoena duces tecum, and tampered with

Morales’s personnel file to pad her file with complaints from other employees, of which Morales

was never previously advised.

       65.     During the hearing for the L.O.R. OIG representatives, Bonney, Centola, and

Michel all testified that during their investigation into the allegations lodged in the L.O.R. that




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Morales was the only employee who had periods of time not recorded in Wingswept. After

Morales received the L.O.R., however, she ran a report through the Wingswept program to check

if any other employees lacked hours in the system. Morales discovered that fellow Investigator

IV, Terrence Barrett failed to enter hours into the system for 51 days in 2020 and 9 days in 2019;

Centola failed to enter hours in for 27 days in 2020 and 19 days in 2019; and Bonney failed to

enter hours for 28 days in 2020 and 10 days in 2019. The Criminal Investigative team was

comprised of Bonney, Centola, Barrett and Morales, yet Morales was the only employee

disciplined for the alleged violation.

       66.     During Morales’s Civil Service Appeal hearing for her suspension and termination

Bonney testified that he drafted the termination letter and confirmed that the reference to the EEO

complaint of December 9, 2020, referred to her EEOC Charge of Discrimination filed on

November 23, 2020. The OIG produced a copy of the CAO memo advising the OIG of Morales’s

claim as support for her termination for filing an EEOC charge.

       67.     Bonney also testified about support for the allegation that Morales was not

domiciled in Orleans Parish. He confirmed that he conducted an interview with Morales’s

landlord after she was terminated and after she presented evidence that she lived in Orleans Parish

at her pre-termination hearing. Bonney testified that Morales’s landlord confirmed that she lived

on Jewel Street. The OIG, however, still stands by the position that although Morales lived in

Orleans Parish that she still violated the domicile ordinance.

       68.     When Bonney was asked about the OIG’s evidence to support the claim that

Morales accepted a gift in violation of CAO policy, Bonney testified that he was not aware of

any business that Morales’s friend with whom she attended the December 2019 Heisman trophy

ceremony had with the City of New Orleans or OIG, which would create a conflict of interest.




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       69.        Chief Centola testified that it was common knowledge in the office that Morales

attended the 2019 Heisman Trophy Ceremony, but that Michel asked Centola to look into

Morales’s trip.

       70.        During the same hearing, however, former I.G. Harper testified that he was aware

of Morales’s trip to the Heisman trophy ceremony on a private jet, the claims made by their

federal counterparts, and that he investigated the issues and came to the conclusion that “there

was no sufficient basis for any action” against her. The OIG, however, through Michel suspended

and terminated Morales for this trip despite the fact that the I.G. and counsel already made a

determination that it was not a policy violation.

       71.        Neither Centola, Bonney, Michel nor Barrett ever interviewed I.G. Harper or OIG

counsel to determine if they investigated concerns about a gift Morales had received for traveling

to the Heisman Trophy Ceremony. Centola, Bonney, Michel neglected to ascertain whether or

not Morales consulted management regarding this alleged gift. Instead, they waited until after

I.G. Harper and OIG counsel departed the OIG to investigate the allegation related to the gift.

       72.        It was also established through stipulation by the OIG that during its investigation

into Morales, they failed to consult their own investigative policies and procedures, the

Qualitative Standards Investigations Division.

       73.        Multiple OIG employees, including Centola, Bonney and Michel testified that

they were not aware of the policy violations related to the iPhone until the fall of 2020. OIG

witnesses testified that they discovered that Morales gave away OIG property, when two

employees of the Federal Reserve Bank, Daryl Turner and Reginald Fournier approached the

OIG IT specialist, Bobbie Jones, and asked for an iPhone charger for the phone Morales donated

to Fournier.




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       74.     The OIG provided Morales with memorandums of interview for Bobbie Jones,

indicating that she learned about the iPhone when she was approached by Turner and Fournier in

or around the fall of 2020.

       75.     Jones holds a grudge against Morales, she previously filed a grievance against

Morales and was disciplined for her animosity and unprofessional behavior toward Morales at

work, she also previously alleged that Morales was reading other employee emails, an allegation

that was deemed unfounded by the I.G. Jones also stated that she would look for another job if

Morales regained her employment because it would be too difficult for Jones to work with

Morales.

       76.     Jones’s story about how she found out about the iPhone proved to be untrue when

both Turner and Fournier testified that they never approached Bobbie Jones to ask for a charger,

in fact, they didn’t even know who Bobbie Jones was, let alone had a conversation with her about

a five-year-old iPhone.

       77.     Morales was also accused of a lack of candor in the suspension and termination

letters. Bonney testified that Morales exhibited lack of candor in her interview with Chief Centola

on December 1, 2020, because she could not immediately recall the last name of the friend, she

went on a trip with for the Heisman Ceremony in December of 2019. Morales provided the last

name for her friend within minutes of the interview concluding and also provided an email to

provide evidence that she provided Centola with her friend’s full name. The OIG intentionally

left this information out of the suspension and termination letter to falsely accuse Morales of lack

of candor.

       78.     No one ever attempted to verify the claims made by Jones, however, every effort

was made to discredit any response Morales provided in her defense to the baseless claims lodged




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against her.

        79.    During Morales’s civil service hearing, for the very first time, Michel changed his

story and alleged that Morales stole the iPhone that was given to Fournier and that she later lied

about it. Michel testified that Morales’s actions constituted a lack of candor and therefore she

could no longer work as an investigator because of “Giglio” concerns. It is unknown to what

extent Michel has disseminated the false claims against Morales concerning theft and lying;

neither of which was mentioned in the suspension or termination letters. However, Morales

believes that Michel’s false and defamatory statements have harmed her reputation and prevented

her from gaining employment.

        80.    While Morales’s suspension and termination appeals were ongoing, on May 19,

2021, Bobbie Jones hacked into Morales’s private Facebook account while Jones was at work.

Jones changed Morales’s passwords, locked her out of her account, and downloaded Morales’s

activity.

        81.    Morales filed a police report for the illegal conduct. Upon information and belief

Jones has not been disciplined for her illegal actions and for her false statements made against

Morales that resulted in her termination.

        82.    Morales is awaiting the ruling for the civil service appeals for her suspension and

termination.

        83.    Morales asserts that not only has she been retaliated against for opposing and

reporting discriminatory, unethical, and illegal behavior, but that other employees outside her

protected classes of race and gender at OIG have been treated more favorably than her, in

particular:

                 a. Bobbie Jones (Caucasian Female) Jones was hired as an IT Specialist in




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           September of 2017. IT duties were previously Morales’s responsibility.

           On February 7, 2019, Morales questioned Jones about her disclosures dated

           February 5, 2019, an ethical obligation for all OIG employees. Jones

           misrepresented her relationship with an OIG vendor, who was awarded a bid

           to provide a product to the OIG. Jones’s actions created a conflict of interest

           which benefitted her friend financially. Although it was undisputed that

           Jones failed to follow policy and misrepresented information that resulted in

           a conflict of interest, she was not disciplined for the violation, yet Morales

           was terminated for lack of candor when she could not immediately recall her

           friends full name, and that her trip to the Heisman ceremony created a

           conflict of interest. Additionally, two witnesses impeached Jones’s

           testimony during Morales’s Civil Service hearing, yet upon information and

           belief, Jones has not been disciplined for her lack of candor.

        b. Terrence Barrett: (African American Male) Morales was disciplined and

           received a L.O.R. for failing to keep her hours up to date in Wingswept.

           Criminal Investigator IV, Barrett also had several days where he failed to

           enter his hours into Wingswept. Morales discovered that Terrence Barrett

           failed to enter hours into the system for 51 days in 2020 and 9 days in 2019;

           Centola failed to enter hours in for 27 days in 2020 and 19 days in 2019; and

           Bonney failed to enter hours for 28 days in 2020 and 10 days in 2019. The

           Criminal Investigative team was comprised of Bonney, Centola, Barrett, and

           Morales; yet Morales was the only employee disciplined for the alleged

           violation. Morales was also required to maintain her certification hours but




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                     was not given the 5% pay increase that was awarded to Barrett for the same

                     certification.

                 c. Lea Rae Webb: (Auditor Caucasian Female) Webb filed a grievance against

                     Morales in January of 2019 claiming Morales walked too close to her and

                     invaded Webb’s personal space. Webb was permitted to escalate her

                     grievance to the CAO’s office without discipline or retaliation from OIG

                     management. One of the reasons cited for Morales’s termination is her

                     escalation of grievances to the CAO.

       84.     The Defendants acts and/or omissions caused Morales to suffer mental,

emotional, and psychological harm.

       85.     Morales has suffered substantial loss in present and future wages, employment

benefits, and future career opportunities as a result of Defendants’ unlawful conduct.

                                      CLAIMS FOR RELIEF

                                             COUNT 1
                                 Title VII, 42 U.S.C. § 2000e-3(a)
                                            Retaliation

       86.     Morales re-alleges and incorporates herein by reference all the foregoing

allegations.

       87.     Morales engaged in protected activity, by opposing the disparate treatment and

discrimination as described in preceding paragraphs, including but not limited to lodging internal

complaints of discrimination and unfair treatment with her supervisors beginning in 2019, filing an

EEOC Charge of Discrimination, advising her supervisors of unethical and what she perceived as

illegal practices, advising her supervisors and OIG counsel of violations of Louisiana Public Records

Law with regard to her requests for her personnel file, and filing a grievance against Bonney and

seeking redress from harm through the CAO’s office.


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       88.     The OIG through Michel, Bonney, Centola, and others, retaliated against Morales by

engaging in a series of materially adverse actions against her that would have dissuaded a reasonable

person from complaining of discrimination. Including but not limited to: utilizing the entire

criminal investigations unit and other personnel to investigate Morales for a number of alleged

policy violations after she filed an EEOC Charge of Discrimination; removing Morales from her

assigned cases with no explanation and delaying her progress in said investigations after making

complaints to her supervisors about conduct from federal partners; suspending and terminating

Morales based on an allegation from an employee, Jones, who is known to harbor a grudge against

Morales; failing to verify any of the claims made by Jones prior to instituting discipline; failing to

follow the policies and procedures for investigations for the investigation into Morales;

disregarding unrefuted proof of the falsity of the allegations lodged against Morales related to her

suspension and termination; in addition to the other materially adverse actions outlined in

paragraphs 17- 85.

       89.     Defendant OIG took the adverse actions against Morales because of her protected

activities, opposing discrimination and complaining of discrimination, filing a Charge of

Discrimination with the EEOC; and appealing her suspension and termination.

       90.     Defendants OIG and Michel’s actions were taken with malice and reckless

disregard for Morales’s right to be free from discrimination in the workplace.

       91.     For the foregoing reasons, Morales is entitled to relief against the OIG and Michel

for retaliation in violation of 42 U.S.C. § 2000-e3(a).




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                                           COUNT 2
                            Conspiracy to Interfere with Civil Rights
                                     42 U.S.C. § 1985 (3)

       100.      Morales re-alleges and incorporates herein by reference all the foregoing

allegations.

       101.      Morales brings an action for Conspiracy to Interfere with her civil rights against

Defendants. Morales alleges that a conspiracy through Michel, Bonney, Centola, and Jones existed

and was motivated by their animus to deprive her of her employment position in retaliation for

reporting and objecting to discriminatory and illegal practices. They acted in cohesion to deprive

her of equal protection under the law and to deprive her of her constitutionally protected right in

her position. They all acted in furtherance of the conspiracy when Jones fabricated a story that

Fournier and Turner approached her to request a charger for the iPhone that the OIG now claims

Morales stole.

       102.      Michel, Bonney, Centola, Barrett, and Jones acted together to create and fabricate

policy violations to deprive Morales of her constitutionally protected right in her position as a

permanent civil servant. They provided statements that were misleading and/or false concerning

unsubstantiated claims about Morales’s candor and donation of an iPhone as well as failed to

follow standards of investigation, created evidence in response to a subpoena duces tecum,

tampered with and wrongfully withheld Morales personnel file from her, prevented other OIG

employees from disseminating documentation prepared in response to a Public Records Request

and subpoena duces tecum, and failed to provide her with required due process for the alleged

violations for which she was suspended and terminated.




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       103.    The OIG, through Michel, Bonney, Centola, Barrett, and Jones conspired to deprive

Morales of her position, which resulted in Morales’s suspension without pay, termination,

emotional distress and financial hardship.

                                           COUNT 3
                        Louisiana Whistleblower Statute La. R.S. §23:967

       104.    Morales re-alleges and incorporates herein by reference all the foregoing

allegations.

       105.    Morales brings an action under the Louisiana Whistleblower Statute. Morales

alleges that Michel through the OIG and City of New Orleans as her employer, retaliated against

her after she advised I.G. Harper, OIG counsel and her other supervisors of violations of law.

       106.    Morales disclosed violation of state and federal law when she made her internal

complaints to the OIG of discrimination and disparate treatment, when she filed her EEOC Charge

of discrimination, sought relief from harm from the CAO’s office related to OIG disparate

treatment and discrimination, when she advised of violations of the Public Records Law relating

to her request for her personnel record, and when she advised of unethical and illegal practices by

federal counterparts.

       107.    Morales was subsequently disciplined, including a 30-day suspension without pay

and termination of her position. One of the reasons listed for her termination and suspension

includes a direct admission that she was being disciplined for filing an internal complaint of

discrimination, grievances with the CAO office, and an EEOC charge of discrimination.

                                           COUNT 4
                                        42 U.S.C. §1983
                             Deprivation of a Vested Property Right

       108.    Morales re-alleges and incorporates herein by reference all of the foregoing

allegations.



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       109.    The Fourteenth Amendment of the United States Constitution, as well as the

Louisiana Constitution and Louisiana law establish a constitutionally protected property right to

due process for civil servants.

       110.    Morales enjoys a vested property right in her position as a civil servant and can

only be terminated for cause after due process.

       111.    Morales asserts a Fourteenth Amendment Procedural Due Process claim in that her

letter or reprimand, suspension and termination were without cause, arbitrary and capricious, and

that she was not afforded due process with regard to the allegations made against her, which

resulted in a clear denial of her guaranteed and vested property right in her employment.

       112.    Morales was not provided adequate notice and an opportunity to be heard in

advance of the pre-disciplinary hearing, the hearing included discussion of accusations and alleged

policy violations not included in the pre-disciplinary hearing notice; the OIG failed to follow its

policies relating to the pre-disciplinary hearing and failed to provide written notice of the reasons

for the adverse employment action and how the policies were violated; the OIG testified at her

Civil Service hearing that she was terminated for stealing an iPhone and lying about it, an

allegation that was not included in her disciplinary letters and to which she was never afforded due

process; the OIG employees actions to create disciplinary issues in order to terminate her; and

discipline for an allegations of policy violations that I.G. Haper and OIG counsel investigated and

found to be baseless and not warranting discipline, in addition to the other actions outlined in

paragraphs 17 through 85.

       113.    Morales is entitled to relief for deprivation of a vested property right and due

process violation under the Fourteenth Amendment.




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                                             COUNT 5
                                 Title VII, 42 U.S.C. § 2000e-2(a)
                                 Disparate Treatment – Gender

       114.    Morales re-alleges and incorporates herein by reference all the foregoing

allegations.

       115.    Morales is a member of a protected class, as a Latina female, and was qualified

for the position she held as Criminal Investigator IV.

       116.    Morales was the subject of mistreatment by several OIG employees, including but

not limited to Ed Michel, William Bonney, and Michael Centola on the basis of her gender. On

multiple occasions Morales was treated differently than other non-female employees, who were

either disciplined less harshly or not at all for similar or more egregious policy violations than

those alleged against Morales.

       117.    In particular, Morales received a letter of reprimand for not keeping her hours up

to date in Wingswept. However, during the same period of time William Bonney, Michael

Centola and Terrence Barret, which comprised the remainder of the criminal investigations

division also failed to put their hours into Wingswept but were not disciplined.

       118.    Morales reported the discriminatory conduct to her employer, who failed to take

reasonable remedial measures.

       119.    Morales also filed an internal complaint about disparate treatment concerning

denial of a pay increase based on her certifications, her male colleagues were awarded the pay

increase based on the same certification that she was denied.

       120.    Morales was required to maintain hours for her certifications while her male

colleagues were not required to maintain their hours. When Morales complained about the

disparate treatment, Bonney threatened Morales and subsequently engaged in a campaign of




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retaliation.

        121.   Actions through Michel, Bonney, and Centola, were taken with malice and

reckless disregard for Complainants’ right to be treated on an equal basis with men.

        122.   Defendants City of New Orleans, and OIG through Ed Michel, Interim Inspector

General did not take reasonable remedial measures to address the discriminatory actions, in

reckless disregard for the Complainant’s rights as secured by federal law.

         123. Morales is entitled to relief because Defendant City of New Orleans and OIG

through Ed Michel discriminated against her in violation of 42 U.S.C. § 2000-e2(a).

                                           COUNT 6
                            Violation of 42 U.S.C. §1981 and §1983

        124.   Morales re-alleges and incorporates herein by reference all of the foregoing

allegations.

        125.   Morales is a member of a protected class, as a Latina Female. Defendant’s actions

are in violation of the rights afforded Morales by the Civil Rights Act 1866, 42.U.S.C. §1981, as

amended by the Civil Rights Act of 1991.

        126.   By conduct described above, Defendant City of New Orleans and the OIG through

Ed Michel, intentionally deprived Morales of the same rights enjoyed by white citizens to the

creation, performance, enjoyment and all benefits and privileges of their contractual employment

relationship with Defendants, in violation of 42 U.S.C. §1981.

        127.   As a result of Defendants discrimination in violation of Section 1981, Morales has

been denied employment opportunities providing substantial compensation and benefits, thereby

entitling her to injunctive and equitable monetary relief; and has suffered anguish, humiliation,

distress, inconvenience, and loss of enjoyment of life because of Defendants actions, thereby

entitling her to compensatory damages.



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       128.    In its discriminatory acts described in paragraphs 17 through 85 above, Defendants

acted with malice or reckless indifference to Morales’s rights, thereby entitling her to punitive

damages.

       129.    Morales is entitled to relief under this Count against the City of New Orleans and

the OIG through Ed Michel in his Official Capacity.

                                            COUNT 7
                                Title VII, 42 U.S.C. § 2000e-2(a)
                                 Disparate Treatment – Race

       130.    Morales re-alleges and incorporates herein by reference all of the foregoing

allegations.

       131.    Defendant City of New Orleans and the Office of Inspector General through Ed

Michel discriminated against Morales on the basis of her race/ethnicity. Morales was treated

differently than other similarly situated employees outside of her protected class. She was treated

more harshly, targeted, scrutinized, and/or disciplined more severely than other non-Latin American

and Caucasian similarly situated employees.

       132.    Morales was suspended and terminated for making retaliatory grievances and

complaints against her co-workers. However, Jones previously alleged that Morales was reading

other employee emails, an allegation that was deemed unfounded by the I.G. but Jones was never

disciplined for making her complaint.

       133.    Lea Rae Webb a (Caucasian Female) filed a grievance against Morales in January

of 2019 claiming Morales walked too close to her and invaded Webb’s personal space. Webb was

permitted to escalate her grievance to the CAO’s office without discipline or retaliation from OIG

management. One of the reasons cited for Morales’s termination is her escalation of grievances to

the CAO.




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        134.     Defendants City of New Orleans and OIG failed to exercise reasonable care either to

prevent this discrimination or to promptly correct these practices.

        135.     Defendants City of New Orleans and OIG’s conduct was intentional and done with

malice or with reckless indifference to Morales’s federally protected rights.

        136.     Morales is entitled to relief because the City of New Orleans and the OIG

discriminated against her in violation of 42 U.S.C. § 2000-e2(a).

                                           COUNT 8
               State Law Discrimination based on Race and Gender and Retaliation
                                   LA. R.S. § 23:3301 et. seq.

        137.     Morales re-alleges and incorporates herein by reference all of the foregoing

allegations.

        138.     Defendant OIG is liable to Morales under the Louisiana Employment

Discrimination Law, La. R.S. § 23:3301 et. seq. as described in the preceding paragraphs and

counts 1 through 7.

                                            COUNT 9
                                   Defamation La. C.C. art. 2315

        139.     Morales re-alleges and incorporates herein by reference all the foregoing

allegations and specifically pleads the claim of defamation against Ed Michel.

        140.     Michel defamed Morales, he made statements to others that Morales lacked candor,

stole and iPhone that was OIG property, had “Giglio” issues in addition to other untrue statements

made about her character and reputation.

        141.     The claims were false and have been made in a public forum during her civil service

appeals and published in an August 4, 2021, letter to the District Attorney Jason Williams, on the

OIG twitter feed stating that “[t]he report was prepared by experienced investigators with

significant expertise in federal, state, and local criminal investigations. If called to testify, they are



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free from Giglio issues;” implying that Morales has “Giglio” issues that would prevent her from

testifying in court in the future.

        142.    Morales’s professional reputation has been harmed by these statements and has

prevented her from gaining employment within her field.

        143.    In Louisiana, defamation is a tort which involves the invasion of a person's interest

in his or her reputation and good name. Fitzgerald v. Tucker, 98-2313, p. 10 (La. 6/29/99), 737 So.

2d 706, 715; Trentecosta v. Beck, 96-2388, p. 10 (La. 10/21/97), 703 So. 2d 552, 559; Sassone v.

Elder, 626 So. 2d 345, 350 (La. 1993). "Four elements are necessary to establish a defamation

cause of action: (1) a false and defamatory statement concerning another; (2) an unprivileged

publication to a third party; (3) fault (negligence or greater) on the part of the publisher; and (4)

resulting injury." Trentecosta, 96-2388 at 10, 703 So. 2d at 559 (citing RESTATEMENT

(SECOND) OF TORTS§ 558 (1977)).

        144.    A defamatory communication is one that tends to harm the reputation of another

to lower that person in the opinion of the community or to deter third persons from associating

or dealing with him. Sassone v. Elder, 626 So. 2d 345, 352 (La. 1993).

        145.    Defamatory words include almost any language which on its face tends to injure

aperson's reputation. Cortez v. Shirley, 555 So. 2d 577, 579 (La. App. 1st Cir. 1989).

        146.    The false and defamatory statements made by Michel have caused and continue to

cause damage to Morales.

                                          Count 10
                    Social Media Cyberstalking/Hacking La. C.C. art. 2315

        147.    Morales also asserts a tort claim against Bobbie Jones for social media

cyberstalking and hacking pursuant to La. C.C. art. 2315

        148.    On May 19, 2021, Jones was at her place of employment at the OIG and hacked



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into Morales’s private Facebook account. Jones changed Morales’s password, locked her out of

the account and downloaded her activity.

       149.    Morales was immediately notified when the password was changed, and she was

locked out of her account.

       150.    Morales called the number provided by the email from Facebook and Bobbie Jones

answered. Morales instructed Jones to cease and desist that she was hacking into a private social

media account. Jones refused to cease and desist and proceeded to download Morales’s activity.

       151.    Morales filed a police report with NOPD.

       152.    Morales believes that Jones intentionally hacked her account in an attempt to breach

her privacy and look for anything that Jones could use against Morales during her pending civil

service hearing.

       153.    Jones is liable to Morales for damages for cyberstalking and hacking into her

private social media account.

                                        JURY DEMAND

       154.    Morales demands a Jury on all issues so triable.

                                    PRAYER FOR RELIEF

       WHEREFORE, after due proceedings are had, Morales prays that this Complaint be

deemed good and sufficient; and that this Court assume jurisdiction of this action and after trial:

                     i. Grant Morales compensatory damages for:

                             1. Mental Anguish, Anxiety, and Emotional Distress;

                             2. Back Pay, Loss of Future Earnings, and Loss of Earnings

                                Capacity;

                             3. Loss of Benefits;




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                    ii. Grant Morales punitive damages in an amount to be determined at trial;

                       and

                   iii. Award Morales such other relief and benefits as the cause of justice may

                       require, but not limited to, an award of costs and attorney’s fees.

                   iv. For any and all other just and equitable relief to which Morales may be

                       entitled.

                                            Respectfully Submitted,

                                            /s/ Stephanie Dovalina____
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                                            Attorney for Kristen Morales



                                     Certificate of Service

           I certify that on October 28, 2021, a copy of this filing was served contemporaneously

on all attorneys of record via the court’s CM/ECF system.


                                            /s/ Stephanie Dovalina____
                                            Stephanie Dovalina




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